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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 IN RE:                                        §
                                               §
                                               §
 ROBERT F. STRANGE JR.,                        §     Case No. 23-32598
                                               §
                                               §          (Chapter 13)
 Debtor.                                       §
                                               §
 __________________________                    §
                                               §
                                               §
 ROBERT STRANGE, JR.                           §
                                               §
 Plaintiff,                                    §
                                               §
 v.                                            §          Adv. No. 23-03138
                                               §
 DEUTSCHE BANK                                 §
 NATIONAL TRUST                                §
 COMPANY, AS TRUSTEE,                          §
 IN TRUST FOR                                  §
 REGISTERED HOLDERS OF                         §
 LONG BEACH MORTGAGE                           §
 LOAN TRUST 2004-4,                            §
 ASSET-BACKED                                  §
 CERTIFICATES, SERIES                          §
 2004-4                                        §
                                               §
 Defendant.                                    §

              JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Plaintiff Robert Strange Jr. (“Plaintiff”) and Defendant Deutsche Bank National Trust

Company, As Trustee, in trust for registered Holders of Long Beach Mortgage Loan Trust 2004-

4, Asset-Backed Certificates, Series 2004-4 (“Defendant”), hereby stipulate to the dismissal of the

above-styled case and any claims that were raised or that could have been raised in this action,

without prejudice, with each side to bear their own costs and attorneys’ fees.



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Dated: November 2, 2023

                                                    Respectfully submitted,


/s/ Jason A LeBoeuf                                 /s/ Michael Weems
Jason A LeBoeuf                                     Michael Weems
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Counsel for Plaintiff                               Counsel for Defendant


                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing has be filed with the Clerk of Court

through CM/ECF, and undersigned thereby also served notice of foregoing on all parties of

record on this November 2, 2023.

                                                            /s/ Jason A LeBoeuf
                                                            Jason A LeBoeuf




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